8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 1 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 2 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 3 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 4 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 5 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 6 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 7 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 8 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 9 of 10
8:21-cr-00605-CRI   Date Filed 09/13/21   Entry Number 4   Page 10 of 10
